                                COURT OF APPEALS FOR THE
                           FIRST DISTRICT OF TEXAS AT HOUSTON

                                           ORDER

Appellate case name:        Patrick Rombs and Crystal Rombs v. Ivan Mefford, M.D.,
                            Ivan Mefford, M.D., Ph.D. P.A. and Elizabeth Prather, R.N.

Appellate case number:      01-18-00360-CV

Trial court case number:    16-DCV-236728

Trial court:                434th District Court of Fort Bend County

       The record in this appeal was due in this Court on June 5, 2018. See TEX. R. APP.
P. 35.1(a). A clerk’s record was filed on July 25, 2018; however, a reporter’s record has
not been filed.
        On June 13, 2018, the court reporter notified the Clerk of this Court that there is a
reporter’s record but appellants, Patrick Rombs and Crystal Rombs, had not requested
preparation of a reporter’s record. Also on June 13, 2018, the Clerk of this Court notified
appellants that the court reporter responsible for preparing the reporter’s record had not
filed a reporter’s record because appellants had not requested preparation of a reporter’s
record or had not paid, or made arrangements to pay, the fee for preparation of the record.
See id. 37.3(c). The Clerk further notified appellants that unless they provided written
evidence that they had paid, or made arrangements to pay, for the reporter’s record, or
provided proof that they are entitled to proceed without payment of costs by July 13,
2018, the Court might consider the appeal without a reporter’s record. See id. Appellants
have not responded.
       Accordingly, the Court will consider and decide those issues or points that do not
require a reporter’s record for a decision. See id. 37.3. Appellants’ brief is due to be
filed no later than 30 days from the date of this order. Id. 38.6(a), (d).
       It is so ORDERED.

Judge’s signature: /s/ Russell Lloyd
                    Acting individually       Acting for the Court

Date: August 14, 2018
